               Case 4:99-cr-40144-HSG Document 65 Filed 06/24/22 Page 1 of 1



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 3                                  IN THE UNITED STATES DISTRICT COURT
 4                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                              OAKLAND DIVISION
 6

 7     UNITED STATES OF AMERICA,                           Case No.: CR 99–40144 HSG
 8                     Plaintiff,                          ORDER CONTINUING ADMISSION
                                                           AND DISPOSITION RE:
 9             v.                                          SUPERVISED RELEASE VIOLATION
                                                           FROM JUNE 29, 2022 TO AUGUST 10,
10     ANTONIO SOLOMON,                                    2022
11                     Defendant.
12
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the admission and disposition
13
     court appearance on the Form 12 in the above referenced case for defendant Antonio Solomon,
14
     currently scheduled for June 29, 2022, at 10:00 a.m. before Honorable Haywood S. Gilliam, Jr., is
15
     hereby continued to August 10, 2022, at 10:00 a.m. for admission and disposition.
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19                  IT IS SO ORDERED.

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21    Dated:          6/24/2022
                    ______________
                                                           HON. HAYWOOD S. GILLIAM, JR.
22                                                         United States District Judge
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     ORDER RE: CONTINUE ADMISSION/DISPO TO 8/10/22
     SOLOMON, CR 99–40144 HSG
                                                       1
